     Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.300 Page 1 of 15




         1 MARA W. ELLIOTT, City Attorney
             PAIGE E. FOLKMAN, Assistant City Attorney
         2   DAVID E. MILLER, Deputy City Attorney
             California State Bar No. 174469
         3         Office of the City Attorney
                   Community Justice Division/Nuisance Abatement Unit
         4         1200 Third Avenue, Suite 700
                   San Diego, California 92101-4103
         5         Telephone: (619) 533-5500
                   Fax: (619) 533-5505
         6         MillerDE@sandiego.gov
         7 Attorneys for Plaintiffs, the People of the State
             of California and City of San Diego
         8

         9                        UNITED STATES DISTRICT COURT
        10                     SOUTHERN DISTRICT OF CALIFORNIA
        11 THE PEOPLE OF THE STATE OF                      CASE NO. 3:23-cv-01296-LAB-DDL
           CALIFORNIA and CITY OF SAN
        12 DIEGO, a municipal corporation,                 PLAINTIFFS' PEOPLE OF THE
                                                           STATE OF CALIFORNIA AND
        13               Plaintiffs,                       CITY OF SAN DIEGO'S
                                                           MEMORANDUM OF POINTS AND
        14                                                 AUTHORITIES IN SUPPORT OF
                  v.                                       THEIR MOTION TO REMAND TO
        15                                                 STATE COURT
         CAYDON SAN DIEGO PROPERTY
      16 LLC, a Delaware Limited Liability
         Company-
                                           rF·l d
                                                           u·ti
                                               ~ concurren y WI
                                                                  •th N t•
                                                                     • 0 ice 0
                                                                               f
                                                                                                I
_ _ _ 17 _CAYDON)JSA.HQLD~G;~LC, a ------R:,~g~[ v1fcr/::,.~~r~nAf:g?v':J'/J
                                                    0

         Texas Foreign Limited Ltab~hty    Miller Ali Fattah and Val Sanchez]                   il
      18 Company and a Delaware Limited           '          '                                  ~
         Liability Company;                                                                     J

      19 CAYDON USA PROPERTY GROUP,        Date Filed: June 12, 2023                            ii
         LLC, a Delaware Limited Liability Removal Date: July 14, 2023
      2
         °
         Company;
                                           Judge: Hon. Larry A. Burns
      21 MATTHEW HUTTON, Receiver and
         Mana_ger of CAYDON USA PROPERTY Courtroom: 14A
      22 GROUP HOLDINGS PTY LTD;           Date: October 2, 2023
         ALEX BEATON, an individual; and   Time: 11 :30 a.m.
      23 DOES 1 through 50, inclusive,

        24               Defendants.
        25
        26
        27

        28

                                                       1
                                                                       3 :23-cv-01296-LAB-DDL
Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.301 Page 2 of 15




                                            TABLE OF CONTENTS
                                                                                                                     Page
             INTRODUCTION ........................................................................................ 5
             FACTUAL BACKGROUND AND PROCEDURAL HISTORY ............... 6
             LEGAL STANDARD .................................................................................. 8
             ARGUMENT ................................................................................................ 9
             A.     There is No Valid Basis for Diversity Jurisdiction .............................. 9
                      1.       A Presumption Arises A_gainst Diversity Jurisdiction Because
                               the State is the Party of Record in this Civil Law
                               Enforcement Action ................................................................. 9
                      2.       Complete Diversity is Destroyed as the State is the Real
                               Party in Interest in this Civil Law Enforcement Action ........ 10
                      3.       Defendant Alex Beaton is Not a "Sham" Defendant and                                           I
                               is Not Diverse ......................................................................... 13   I
                                                                                                                             i
             B.
                                                                                                                             I
                                                                                                                             l
             CONCLUSION ........................................................................................... 15       II
                                                                                                                             lI
                                                                                                                             I
                                                                                                                             I
                                                                                                                             I




                                                                2
                                                                                           3:23-cv-01296-LAB-DDL
              Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.302 Page 3 of 15




                     1                                               TABLE OF AUTHORITIES
                     2
                          California Cases
                     3 Atascadero State Hosp. v. Scanlon,

                     4
                            473 U.S. 234, 290 n.44 (1985) ............................................................................. 11
                          Boggfl v. Lewis,
                            863 F. 2d 662 (9th Cir. 1988) ............................................................................... 15
                     5
                          Davis v. Prentiss Prop_erties Ltd. Inc.,
                            66 F. 7Supp 2d 1112 (C.D. Cal. 1999) ................................................................... 8
                     6
                          Dep't. ofFair EmpJoyment & Housing v. Lucent Techns., Inc.,
                            642 F. 3d 728 tYth Cir. 2011) .......................................................................... 9, 10
                     7    Fifty Assocs. v. Prudential Ins. Co.,
                            4Ll-6 F. 2d 1187 (9th Cir. 1970) ............................................................................... 9
                     8    Gallo v. Acuna,
                             14 Cal. 4th 1090, 607 (1997) ................................................................................ 11
                     9    Gaus v. Miles, Inc.,
                            980 F. 2d 564 (9th Cir. 1992) ................................................................................. 8
                    10    Hunter v. Phillip_ Morris USA,
                            582 F. 3d 1039 (9th Cir 2009) ............................................................................ 8, 9
                    11    In re F acebook,
                    12
                            354 F. Sup~. 3d 1122 (2019) ............................................................................ 9, 15
                          Kokkonen v. Guardian Life Ins. Co. ofAm.,
                    13    M~b~~· ~: 'b:~~;g[i>;~a~· ·e;~~ ·"". ····· ·· ····· ···· ·· ···· ··· ········ ··· ··· ··· ···· ···· ····· ··· ···· ·· ·· ·· ··· ··· ····
                                                                                                                                             8
                   811 F.2d 1336 (9th Cir. 1981) .............................................................................. 13
                    14
                 Miller v. Grgurich,
                   763 F.2d 372 (9th Cir. 1985) ................................................................................ 10
             15 Moor v. Alameda County,
                   411 U.S. 693 (1973) ............................................................................... ~ .............. 10
             16 Nevada v. Bank ofAm. Corp.,
                   672 F. 3d. 676 .......................................................................................... 10, 11, 15
             17
- - - - - - r · -Feople-ex-rel~-Feople of theState-of Gaf-;--E-x-rel~or-ensen-s-v~Randolph,- - ------- -

            18 P1~~a~j~P/st~1e gJc~~ ~ f;I12 A.·~~;·F;;;~[~,''i~~::· ............................................ l l
                                     1           6 1

                   230 Cal. App. 2d 841, 854 n.10 (1964) ............................................................... .11
            19
                 People v. Lim,
                   118 Cal. 2d 872, 475-76 (1941) ............................................................................ 11
                    20

                    21
                          Pe2o~:i" ~<l1~12%1197f)~~.:.~·:........................................................................... 12
                       Phillips v. Allstate Ins., Co.,
                         702 F. SllPP· 1466 (C.D. Cal. 1989) ....................................................................... 8
                    22 State of Ca[ v. Altus Fin., S.A.,
                         36 Cal. 4th 1280, 1190 (2005) .............................................................................. 12
                    23

                    24
                       Other Authorities
                    25
                       Williams  v. Ruan Transp .Corp No. 1:13-cv-01157-LJO-SAB, 2013 WL
                         5708454 (E.D. Cal. Oct. 18, 2013) ......................................................................... 8
                       People ofthe State of Cal. V. Purdue PharmaL.P., No. SACV 14-1080-
                    26
                         JLS(DFMx)6 2014 WL 6065907, at *2 (C.D. Cal. Nov. 12, 2014) ..................... lO
                       People of the i)tate of Cal. Ex. Rel Herrera v. Check 'N Go of California,
                    27   Inc." No. C 07-02789 JSW, 2007 WL 2406888, at *5-7 (N.D. Cal. Aug. 20,
                    28
                         2007) ..................................................................................................................... 11

                                                                                               3
                                                                                                                              3:23-cv-01296-LAB-DDL
Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.303 Page 4 of 15




    1    Statutes
         28 U.S.C. section l 332lal ...................................................................................... 8, 9
    2    28 U.S.C. section 1332 c (1) ................................................................................... 13
         28 U.S.C. section 1447 c .......................................................................................... 6
    3    California Civil Code section 3479 ................................................................ 7, 10, 12
         California Civil Code section 3480 ................................................................ 7, 10, 12
     4   California Civil Code section 3494 ............................................................................ 9
         California Code of Civil Procedure section 731 ....................................... 7, 9, 10, 11
     5   San D!ego Mun!c!pal Code sect!on 11.0210 ........................................................ 7, 13
         San Diego Municipal Code sect10n 12.0202 .............................................................. 7
     6   San D!ego Mun!c!pal Code sectton 121.0302[aj·····················································l3
         San Diego Municipal Code sect10n 121.0302 b .................................................... .13
     7   San Diego Municipal Code section 121.0302 b (4) .................................................. 7
         San Diego Municipal Code section 121.0311 ............................................................ 7
     8
         Other Rules
     9   Federal Rule of Civil Procedure 41(a)(l) .................................................................. 7
    10

    11

    12
    13

    14
    15
    16
    17

    18
    19
    20
   21
    22
   23
   24

   25
   26
   27

   28

                                                                    4
                                                                                               3 :23-cv-01296-LAB-DDL
          Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.304 Page 5 of 15




               1   I.     INTRODUCTION
               2          In this case, Plaintiffs The People of the State of California (State) and the
               3   City of San Diego (City) filed a public nuisance action seeking injunctive relief
               4   and civil penalties in the Superior Court of the State of California for the County of
               5   San Diego (Superior Court) against Defendants Caydon San Diego Property LLC;
               6   Caydon USA Property Group, LLC; Matthew Hutton, Receiver and Manager;
               7   Caydon USA Property Group Holdings Pty LTD; and Alex Beaton (Defendants)
               8   for maintaining a public nuisance and violations of local building ordinances at a
               9   property located in San Diego.
              10          For over three years, Defendants have maintained a public nuisance at a
              11 property composed of three adjoined buildings located in Downtown San Diego,
              12   also known as the California Theater (Property). This Property poses an imminent
              13   threat to the health, safety, and welfare of unauthorized occupants, first responders,
                                                                                                              1
                                                                                                              I
              14   and the general public. It is a refuge for transients and a blight on the local
                                                                                                              j
              15   neighborhood negatively affecting local businesses. The abandoned buildings at
                                                                                                              I
                                                                                                              1
              16   the Property are structurally unsafe, filled with hazardous materials, such as             1
                                                                                                              1
                                                                                                              j
_ _ _ _ _17 __a_sbestns,Jead, and biologicaLwaste, and_hav:e_cracke_d_and_unstahle__exterior_                _J


              18   ornamentation that frequently falls onto the sidewalk endangering pedestrians
              19   below. Declaration of Ali Fattah (Fattah Deel.), ifl5; Declaration of David Miller
              20   (Miller Deel.), ifif3-5, Exs. 1, 2. The buildings have severely deteriorated structural
              21   systems, including significantly weakened and corroded roof trusses, to which
              22   failure would have disastrous consequence leading to severe injuries and death. See
              23   Miller Deel., if3, Ex. 1. Prompt abatement of this public nuisance is required to
              24   avert collapse. Fattah Deel., ifl5. Notably, the City's Engineer has determined that
              25   when the structural members fail and the buildings collapse, one of the walls will
              26   fall towards C Street and the MTS trolley tracks, presenting an imminent threat to
              27   pedestrians, the trolley system, and its passengers. Fattah Deel., ifl5.
              28   III
                                                               5
                                                                                   3 :23-cv-01296-LAB-DDL
Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.305 Page 6 of 15




    1          Additionally, by ignoring the City's countless formal requests to abate the
    2   public nuisance, Defendants allowed the Property to become overrun by transients
    3   who caused fires, defecated in and around the buildings, and broke windows,
    4   causing glass to fall on pedestrians below.
    5          After Defendants refused to abate the nuisance at the Property for several
    6   years, Plaintiffs filed this civil law enforcement action in state court to enjoin them
    7   from maintaining a public nuisance and to protect the general public. To avoid
    8   being enjoined and ordered to abate the public nuisance at the Property,
    9   Defendants removed this case on the basis of diversity jurisdiction and on their
   10   unsupported claim that Defendant Alex Beaton is a sham defendant. However,
   11   there is no valid basis for diversity jurisdiction because the People of the State of
   12   California are a party of record and are also a real party in interest in this litigation,
   13   thus destroying diversity because the "State" is not a "citizen" for diversity
                                                                                                     I
   14   purposes. Also, Defendant Alex Beaton, who is domiciled in the City of San                   l
   15   Diego, State of California is by his own admissions and actions, responsible for
                                                                                                     l'
                                                                                                     l
   16   abating the public nuisance and dangerous building conditions at the Property.
   17 ._____ Eorthes.ereasons_and assetfQrth_helnw,J~laintiffs_r_e_quesLthatthe_Court

   18   respectfully grant Plaintiffs' Motion to Remand as soon as possible, and preferably
                                                                                                     j
   19   without waiting for a response brief from Defendants. See 28 U.S.C. § 1447(c) ("If
   20   at any time before final judgment it appears that the district court lacks subject           I
   21   matter jurisdiction, the case shall be remanded."). Immediate remand would allow
   22   Plaintiffs to protect the public by scheduling a preliminary injunction hearing to
   23   enjoin Defendants from maintaining a public nuisance and dangerous building
   24   conditions.
   25   II.   FACTUAL BACKGROUND AND PROCEDURAL HISTORY
   26         On April 27, 2023, Plaintiffs filed a Complaint on behalf of the People of the
   27   State of California and the City of San Diego in the San Diego Superior Court.
   28   (Original Action) Miller Deel., Ex. 5, ifl. In this action, Plaintiffs alleged that
                                                     6
                                                                         3:23-cv-01296-LAB-DDL
        Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.306 Page 7 of 15




             1   Defendants, not including Alex Beaton, maintained a public nuisance and
             2   dangerous building violations at the California Theater. Two causes of action were
             3   alleged: ( 1) maintenance of a public nuisance pursuant to Cal. Civil Code §§ 3479
             4   and 3480 and Cal. Code of Civil Procedure § 731; and (2) violations of the San
             5   Diego Municipal Code per San Diego Municipal Code§§ 12.0202 and 121.0311.
             6   This civil law enforcement action sought a preliminary injunction and permanent
             7   injunction against Defendants to enjoin them from maintaining the Property as a
             8   public nuisance and with dangerous building conditions. The Complaint also
             9   required Defendants to abate the nuisance and the dangerous building conditions
            10   and requested civil penalties, costs, and other equitable relief. Miller Deel., Ex. 5.
            11   On June 1, 2023, Defendants removed the Original Action to the United States
            12   District Court for the Southern District of California. Miller Deel., iflO. (Dkt. #1).
            13   The sole basis for Defendants' removal was alleged diversity jurisdiction. On June
            14   9, 2023, Plaintiffs filed a Notice of Voluntary Dismissal pursuant to Federal Rule
            15   of Civil Procedure 41(a)(l). (Dkt. #8). On June 14, 2023, the Court dismissed the
            16   Original Action without prejudice. (Dkt. #9). Miller Deel., ifl l.
_ _ _ _ _ _1_7     _ _ On June 12, 2023, Plaintiffs filedasecond_ComplainLin_state court alleging

            18   the same causes of action and requesting the same equitable relief. The only
            19   difference in this second action was the legally supported addition of Alex Beaton
            20   as a defendant. (Present Action). Alex Beaton was added as a defendant because
            21   through further investigation, it was clear to City investigators and Plaintiffs that
            22   he was also responsible for maintaining a public nuisance and dangerous building
            23   code conditions at the Property. See SDMC §§ 11.0210 and 121.0302(b)(4), and
            24   Code of Civil Procedure § 731. Miller Deel., if l 4, Exs. 6, 7, 10 & 12.
            25         On July 14, 2023, Defendants removed the Present Action to the United
            26   States District Court for the Southern District (Notice of Removal). Miller Deel.,
           27    ifl5. (Dkt. #1). The basis for this removal is again alleged diversity jurisdiction and
           28    III
                                                             7
                                                                                 3:23-cv-01296-LAB-DDL
           Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.307 Page 8 of 15




                 1   their unsupported claim that Defendant Alex Beaton is a sham defendant whose
                 2   citizenship should be ignored. Id.
                 3   III.     LEGAL STANDARD
                 4            A federal court has diversity jurisdiction over (1) all civil actions where the
                 5   matter in controversy exceeds the sum or value of $75,000, exclusive of interest
                 6   and costs; and (2) is between ... citizens of different States." 28 U.S.C. § 1332 (a).
                 7   The applicable federal statute requires complete diversity; therefore, every plaintiff
                 8   must be diverse from every defendant. Hunter v. Phillip Morris USA, 582 F.3d
                 9   1039, 1043 (9th Cir. 2009).
                10            "It is to be presumed that a cause lies outside [a federal court's] limited
                11   jurisdiction." Kokkonen v. Guardian Life Ins. Co. ofAm. 511 U.S. 375, 377 (1994).
                12   Furthermore, the Ninth Circuit "strictly construe[s] the removal statute against
                13   removal jurisdiction" and "[f]ederal jurisdiction must be rejected if there is any
                14   doubt as to the right of removal in the first instance." Gaus v. Miles, Inc., 980 F.2d
                15   564, 566 (9th Cir. 1992). This strict construction is very important "in diversity         'I
                                                                                                                J


                16   cases, since concerns of comity mandate that state courts be allowed to decide             j
                                                                                                                j
_ _ _ _ _1_7 _9_Ci_[~S 11nle.ssthe r_e]1l()VCil action_ foll~ sql!_a_r_cly within the bounds Congre_ss has      i
                                                                                                                I
                18   created." Phillips v. Allstate Ins., Co., 702 F. Supp. 1466, 1467-68 (C.D. Cal.
                19   1989).
                20            Furthermore, the party seeking to remove a case always has the burden of
                21   establishing that removal is proper. Davis v. Prentiss Properties Ltd. Inc., 66 F.
                22   Supp. 2d 1112, 1113 (C.D. Cal. 1999); also Williams v. Ruan Transp .Corp., No.
                23   1:13-cv-01157-LJO-SAB, 2013 WL 5708454 (E.D. Cal. Oct. 18, 2013) (The Ninth
                24   Circuit strictly construes the removal statutes and places a heavy burden on
                25   defendants to demonstrate that removal is proper." (citations omitted)).
              · 26   III
                27   III
                28   III
                                                                   8
                                                                                       3:23-cv-01296-LAB-DDL
       Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.308 Page 9 of 15




            1 IV.      ARGUMENT
            2          A.     There is No Valid Basis for Diversity Jurisdiction
            3                 1.     A Presumption Arises Against Diversity Jurisdiction
                                     Because tlie State is the Party of Record in this Civil Law
            4                        Enforcement Action
            5          Jurisdiction based on diversity requires that citizenship of each plaintiff be
            6   different from that of each defendant, and that the matter in controversy exceed
            7   $75,000. 1 Hunter, 582 F. 3d at 1043, and 28 U.S.C. § 1332 (a). "For the purpose of
            8   diversity jurisdiction, a State is not a citizen of itself' and therefore "neither a state
            9   nor a state agency [can] be a party to a diversity action." Dep 't. ofFair
           10 Employment & Hous. v. Lucent Techns., Inc., 642 F. 3d 728, 737 (9th Cir. 2011)
           11   (quotations and citations omitted); see also Fifty Assocs. v. Prudential Ins. Co., 446
           12   F .2d 1187, 1191 (9th Cir. 1970) ("a suit between a state and a citizen of another
          13    state is not a suit between citizens of different states since a state is not a "citizen" .
           14   .. [thus] neither a state nor a state agency [can] be party to a diversity action")

          15    (quotations omitted); In re Facebook, 354 F. Supp. 3d 1122, 1124 (N.D. Cal 2019)
          16    (no diversity jurisdiction where the state is a party because the "state is not a
_ _ _ _ 17 _citiz_en ofanywhere").

          18          Here, the first cause of action in the Complaint is brought by "The People of
          19    the State of California, by and through Mara W. Elliott, City Attorney." Miller
          20    Deel., Ex. 6, il107. California Civil Code section 3494 states that "[a] public
          21    nuisance may be abated by any public body or officer authorized to ... by law.".
          22    California Code of Civil Procedure section 731 authorizes a city attorney to bring
          23    an action under the name of the People of the State of California to abate a public
          24    nuisance. See Cal. Civ. Proc. Code §731, Miller Deel., il14, Ex. 7. State law
          25    expressly grants standing to public prosecutors including the district attorney,
          26    county counsel, and to a city attorney of any town or city inwhich the nuisance ·
          27    exists to bring a civil law enforcement action to abate a nuisance. See id.
          28
                      1 Plaintiffs do not dispute that the matter in controversy in this action exceeds $75,000.

                                                                 9
                                                                                       3:23-cv-01296-LAB-DDL
         Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.309 Page 10 of 15




              1 Therefore, as the State is a party of record in this civil law enforcement action,
              2   diversity is defeated because the State is not a citizen. See id.
              3                2.     Complete Diversity is Destroyed as the State is the Real
                                      Party in Interest in this Civil Law Enforcement Action
              4

              5          Unlike Defendants claim in their Notice of Removal, Plaintiff the People of
              6   the State of California is not a "citizen" for purposes of diversity jurisdiction. Dkt.
              7   #1, 'ifl4; See Department ofFair Employment and Housing v. Lucent Technologies,
              8   642 F.3d 728, 737 (9th Cir. 2011); Moor v. Alameda County, 411 U.S. 693, 717
              9   (1973). Plaintiff The People of the State of California brings the public nuisance
             10   cause of action to protect the health, safety, and welfare of the general public as
             11   allowed by state law See Cal. Civ. Proc. Code § 731, and Cal. Civ. Code §§ 3479
             12   and 3480; Miller Deel., 'ifl4, Ex. 7. The real party in interest in the public nuisance
             13   cause of action brought in this action is the State itself, which is not a citizen of
             14   California and therefore cannot sue or be sued in a federal diversity action.
             15          When determining the state's real interest for jurisdictional purposes federal
             16   courts consider (1) whether the state has a concrete interest in the outcome of the
     17 _lawsuitand (2) theavailabilit)' ofunique_and_s11hstantiaLrdieLto_the_state .. Nevada
______
             18   v. Bank ofAm. Corp., 672 F.3d 670, 672 (9th Cir. 2012) (analyzing Lucent);
             19   Lucent, 642 F.3d at 737-40; see also Miller v. Grgurich, 763 F.2d 372, 373 (9th
             20   Cir. 1985) (a court looks to the face of the Complaint to determine whether
             21   diversity of citizenship exists). Notably, when actions filed by prosecutors on
             22   behalf of the People as permitted by California law have been removed as in this
             23   instance, federal courts have consistently held that because prosecutors are
             24   exercising the State's sovereign powers on behalf of the People, the State is the
             25   plaintiff and real party in interest for diversity purposes. See People of the State of
             26   Cal. V. Purdue Pharma L.P., No. SACV 14;;1080-JLS(DFMx), 2014 WL 6065907,
             27   at *2 (C.D. Cal. Nov. 12, 2014) (granting plaintiff State of California's motion to
             28   remand and holding it was the real party in interest in an action brought by the
                                                              10
                                                                                      3:23-cv-01296-LAB-DDL
          Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.310 Page 11 of 15




                1   Office of the County Counsel for the County of Santa Clara, and rejecting
                2   defendant's argument that "because county prosecutors are authorized to abate
               3    public nuisances only in their jurisdictions, see Cal. Civil Proc. § 731; Miller Deel.,
                4   ifl4, Ex. 7, the real party in interest in a nuisance abatement actions is only the
                5   county.")( citing Nevada, id at 671; People of the State of Cal. Ex. Rel Herrera v.
                6   Check 'N Go of California, Inc." No. C 07-02789 JSW, 2007 WL 2406888, at *5-
               7    7 (N.D. Cal. Aug. 20, 2007) (State of California is the real party of interest in
                8   action by San Francisco City Attorney on behalf of the People of the State).
               9    Clearly, as the State is not a citizen of itself and cannot be a party for diversity
              10    purposes, see Atascadero State Hosp. v. Scanlon, 473 U.S. 234, 290 n.44 (1985)
              11

              12
                    federal courts have promptly remanded the actions for lack of diversity
                    jurisdiction.
                                                                                                               i,
                                                                                                               l
              13

              14
                           Courts have consistently recognized that the State has a "substantial interest
                    in abating public nuisances. People ex rel. People of the State of Cal. Ex rel.
                                                                                                               I
                                                                                                               1
                                                                                                                   !
                                                                                                                   I
              15    Sorensens v. Randolph, 99 Cal. App. 3d 183, 186 (1979); see also Gallo v. Acuna,           I
                                                                                                               J
              16    14 Cal. 4th 1090, 607 (1997) (holding that a public nuisance cause of action               l
______17 __hronght by public prosecutors s_eeks_to__'_'_v:indicate_._,_,_the_v:alue_of_community and           I
                                                                                                               '
              18    the collective interest it furthers"). As previously discussed, under California law a
              19    city attorney may bring civil law enforcement actions on behalf of the People of
              20    the State to seek abatement of public nuisances. See Cal. Civ. Pro. Code § 731;
              21    Miller Deel., ifl4, Ex. 7. Here, Plaintiff, People of the State of California is
              22    exercising the sovereign authority of the State and this action can be treated as if
              23    the State brought the matter. See People v. Lim, 118 Cal. 2d 872, 475-76 (1941);
              24    People of the State of Cal. v. Glen Arms Estate, Inc., 230 Cal. App. 2d 841, 854
              25    n.10 (1964). Also, it is important to note that when Plaintiff files public nuisance
              26    cases on behalf of the People of the State like in this instance, its purpose is to seek
              27    to protect the health, safety, and welfare of the general public that the City protects
              28    on behalf of the State. Notably, California law defines a public nuisance as "one
                       · - - - - - - - · - - - - - - · 11_ _ _ _ _ _ _ _ _ _ _ _ _ _~
                                                                      3 :23-cv-01296-LAB-DDL
      Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.311 Page 12 of 15




            1   which affects at the same time an entire community or neighborhood, or any
            2   considerable number of persons, although the extent of the annoyance or damage
            3   inflicted upon individuals may be unequal". See Cal. Civ. Code§ 3480. In this
            4   particular case, the City's Engineer Fattah has opined that abating the public
            5   nuisance alleged is necessary to avoid injury and death to the general public. See
            6   Fattah Deel., ifl5. Therefore, it is abundantly clear that the State has an interest in
            7   this case.
            8          Furthermore, the State's status as a real party in interest is supported by the
            9   types of equitable relief the city attorney is seeking on behalf of the People of the
           10   State of California. Specifically, the city attorney is seeking injunctive relief that
           11   will benefit the public as a whole by requesting that the state court enjoin
           12   Defendants from maintaining dangerous public nuisance conditions at the
           13   Property. See Complaint ififl07-l 19; Miller Deel., Ex. 6. See State of Cal. v. Altus
           14 Fin., S.A., 36 Cal. 4th 1280, 1190 (2005) (when a public prosecutor "seeks and

           15   injunction that will protect the public and prevent defendants from committing
           16   future unlawful acts, he is fulling primarily a law enforcement function" for the
_ _ _ _1_7+, benefiLofth~public);P~opfov. Pac. Land_Re_search Co., 20 Cal. 3dJO,J22 ...

           18   (1977) ("An action filed by the People seeking injunctive relief and civil penalties      I
                                                                                                          ;
                                                                                                          l


           19   is fundamentally a law enforcement action designed to protect the public and not to       I
           20   benefit private parties."). To obtain injunctive relief, Plaintiff does not need to
           21   establish any injury to the city or to a specific citizen of the City. The equitable
           22   remedies in this case benefit all California residents and deter similar wrongdoing
          23    throughout the State.
          24          Clearly, the State is the only real party in interest in Plaintiffs filing of a
          25    public nuisance cause of action because it was filed to protect the general public
          26    from Defendants' actions and maintenance of dangerous public nuisance
          27    conditions at the Property. Therefore, as there is no basis for diversity jurisdiction,
          28    the Court should remand this case.
                                                            12
                                                                                 3:23-cv-O1296-LAB-DDL
       Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.312 Page 13 of 15




             1                3.       Defendant Alex Beaton is Not a "Sham" Defendant and is
                                       Not Diverse
             2

             3         Unlike Defendants claim, the addition of Alex Beaton as a defendant to the
             4   Present Action was made because after further investigation it was clear to
             5   Plaintiffs that Beaton was also responsible for maintaining a public nuisance and
             6 dangerous building conditions at the Property. See Cal. Civ. Code§§ 3479- 80;
             7   SDMC §121.0302(a) and (b); Miller Deel., ifif 12, 13, Ex. 6. The case cited by
             8   Defendants McCabe v. General Foods Corp.,811F.2d1336 (9th Cir. 1987) for the
             9   proposition that Defendant Beaton is a "sham" defendant that was added only to
            10   defeat diversity jurisdiction is distinguishable and should not be considered.
            11   Specifically, unlike in McCabe where the court held that plaintiff failed to state
            12   any cause of action against the defendants that were ultimately considered "sham"
            13   defendants for purposes of diversity jurisdiction, in this matter, Plaintiffs have
            14   clearly stated a cause of action against Defendant Beaton.
            15         Municipal Code section 11.0210 states that a person responsible for
            16   maintaining violations of local ordinances is one "who a Director determines is
_ _ _ _ _17 ._respQnS.ible_f0rcausing ormaintain_inga public_nu_isance or a.Yiolation.of_the.

            18   Municipal Code or applicable state codes." The term "Responsible Person"
            19   includes, but is not limited to a property owner, tenant, person with a Legal
            20   Interest in real property or person in possession of real property. See SDMC §
            21   11.0210 (emphasis added). Miller Deel., Ex. 12. Here, as alleged in the Complaint,
            22   since 2020, Defendant Beaton frequently represented to city investigators and staff
            23   that he was responsible for abating the violations at the Property, thus Plaintiffs
            24   can sufficiently support both causes of action against him. See Declaration of Val
            25   Sanchez (Sanchez Deel.), ifl4; Miller Deel., Ex. 6, ifif30, 32, 37-40, 56, 58, 63, 64,
            26   72, 74, 76, and 84.
            27         Defendant Beaton frequently met and contacted City staff directly, including
           28    contacting Development Services Director Elyse Lowe and investigators indicating
                                                            13
                                                                                3:23-cv-01296-LAB-DDL
   Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.313 Page 14 of 15




        1   that he was responsible for abating the public nuisance and dangerous building
        2   conditions at the Property. Sanchez Deel., ifl4 . Notably, when sending email
        3   correspondence to City staff he frequently used an email with a domain of
        4   @caydonusa.com, thus unlike he claims, he obviously was also employed and
        5   working for Defendant Caydon USA. Miller Deel., if l 3. The definition of a
        6   "Responsible Person" is very broad and is not just limited to the capacities
        7   included in the definition or asserted by Defendant that he claims do not apply to
        8   him. See Alex Beaton Declaration in support of Defendants' Notice of Removal.
        9   Miller Deel., Ex. 11. Here, Plaintiffs legally added Defendant Beaton to the Present
       10   Action because after further investigation was completed it was abundantly clear
       11   that he was also responsible for maintaining and causing a public nuisance and
       12   violations of the San Diego Municipal Code at the Property. See Sanchez Deel.,
       13   if l 6. As such, Defendant is not a "sham" defendant as Plaintiffs have clearly stated
       14   a cause of action against him.
       15          Individuals are citizens of the state in which they are domiciled. In this
       16   instance, Defendant Beaton is a citizen of California as he is domiciled in the City
       17 _Qf Sa,g__J:)i_~g2,_Stat~ of C_aliforn_ici. Q?e Corrn~laint ~1 O; Miller Decl.,_Ex~ 6_.
                                                                                                          !
                                                                                                          ~
------1
                                                                                                          I
       18   Corporations are considered citizens of the state in which they are incorporated or           l
                                                                                                          J
                                                                                                          l
                                                                                                          l
       19   where they have their principal place of business. 28 U.S.C. §1332(c)(l). Plaintiff
                                                                                                          i
       20   City of San Diego is a municipal corporation formed under the laws of the State of            j
       21   California; thus, a citizen of the State of California. Therefore, as complete
       22   diversity does not exist, this Court should remand this action. Finally, assuming
       23   arguendo there is no claim against Alex Beaton, which is incorrect, this Court
       24   should still remand the action as there is no diversity between the State and the
       25   Defendants.
       26   III
       27   III
       28   III
                                                           14
                                                                                  3:23-cv-01296-LAB-DDL
         Case 3:23-cv-01296-LAB-DDL Document 21-1 Filed 08/14/23 PageID.314 Page 15 of 15




               1         B.     Any Doubt Relating to Diversity Jurisdiction Must be Resolved in
                                Favor of Remand
               2

               3         The overwhelming weight of authority favoring remand calls for this case to
               4   be remanded to the Superior Court. However, if the Court has any doubts
               5   regarding whether it has jurisdiction over this case, this doubt must be resolved in
               6   favor of remand as supported by case law. See Boggs v. Lewis, 863 F. 2nd 662, 663
               7   (1988). Furthermore, where the State legislature has expressly decided to provide
               8   local law enforcement officials with the sovereign authority of the State, as is the
               9   case here under California's public nuisance statutes that serve to protect the
              10   general public, there must be a compelling reason for a federal court to disregard
              11   that decision, and to convert an action lawfully brought on behalf of the People in
              12   state court into a federal diversity action. See In re Facebook, 354 F. Supp. 3d at
              13   1124 {"[W]hen an action has been brought by a state or one of its officials or
              14   subdivisions, the need to resolve doubts against the exercise of federal jurisdiction
              15   is particularly acute); Nevada, 672 F. 3d at 676 (sovereign protection from removal
              16   arises in its most powerful form in state enforcement actions to protect the general
     17_H .p:u_hlic_andremDYal must . serve an ''oyerriding_federalinteresC'_)._D_efendants_have
______

              18   clearly failed to provide any compelling reason or evidence in this action to
              19   support removal; therefore, remand is appropriate.
              20   V.    CONCLUSION
              21

              22
              23
                   be granted, and
                   Dated: August
                                     r;
                         For the reasons stated above, Plaintiffs respectfully request that this motion
                                          action remanded to the San Diego Superior Court.
                                          , 2023               MARA W       LLIOTJ;,_ 'ty

              24

              25

              26
                                                               Attorneys for Plaintiffs the People of
              27                                               the State of California and City of
                                                               San Diego
              28

                                                              15
                                                                                  3:23-cv-01296-LAB-DDL
